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December 8, 2020

VIA ECF

Hon. Jesse M. Furman
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:    In re Citibank August 11, 2020 Wire Transfers, No. 1:20-cv-06539-JMF (S.D.N.Y.)

Dear Judge Furman:

       The parties submit this joint letter to follow up on certain evidentiary issues raised in the
December 7, 2020 final pre-trial conference and in connection with this Court’s order to provide
an update “on the status of the parties’ discussions concerning certain objections for which an
advance ruling was requested (namely, those pertaining to certifications under Fed. R. Evid.
902(11)).” ECF No. 182.

       A. Stipulation Regarding Admissibility

        The parties have conferred and stipulate to the admissibility of the documents on each
parties’ exhibit lists, dated December 4, 2020, as to which there is no objection and has been
identified with an asterisk. The parties have further conferred regarding objections and agreed to
withdraw certain objections to facilitate the presentation of evidence at trial. Specifically,
Plaintiff has agreed to withdraw objections to: DX 140; DX 323; DX 489; DX 503; DX 504; DX
536; DX 540; DX 549; DX 569; DX 628; DX 629; DX 330; DX 345; and DX 351. Defendants
have agreed to withdraw objections to PX 331; PX 349; PX 367; PX 469; PX 471; PX 473; PX
678A; PX 678D; and PX 789.

        The parties submit a Joint Stipulation and [Proposed] Order, attached hereto as Exhibit A
for the Court’s consideration.

       B. Objections to Certifications Under Fed. R. Civ. P. 902(11)

        The parties have continued their efforts to meet and confer to resolve the objections to
the certifications of third parties pursuant to 902(11), including PX 1282, PX 1283, PX 1284, PX
1285, PX 1286, PX 1571, and PX 1572, but have been unable to come to a resolution concerning
those objections or the exhibits corresponding to those certifications. The parties respectfully
propose that those objections be addressed on an exhibit-by-exhibit basis at trial, as exhibits are
offered into evidence. Defendants believe that the certifications are facially deficient and that
Plaintiff has not established the admissibility of documents that purport to be certified by those
documents and will address the issue under separate cover. Citibank maintains that the
certifications satisfy the requirements of the Federal Rules and that the documents to which they
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refer are admissible, and will respond to any written submission by Defendants on this issue
accordingly.


Respectfully submitted,

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